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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Appeal from Case No. 1:22-po-07015-MEH

   USA;

          Plaintiff,

   v.

   CHRISTOPHER CORDOVA

          Defendant.



                                       NOTICE OF APPEAL


          Defendant, Christopher Cordova, by and through undersigned counsel, and pursuant to

   Rule 58(g)(2)(B) of the Fedearl Rules of Criminal Procedure, hereby gives notice of his appeal

   of the final judgment of this court entered on October 19, 2023, ECF No. 36, this court’s

   judgment on Defendant’s Motion to Dismiss, ECF No. 9, and this Court’s sentencing

   determination, ECF No. 30.

          Respectfully submitted this 30th day of October, 2023.


   /s/ Edward Milo Schwab
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